                         Case: 3:04-cr-00162-bbc Document #: 122 Filed: 06/05/08 Page 1 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                                                                                       Judgment - Page 1




                          United States District Court
                                          Western District Of Wisconsin
                   UNITED STATES OF AMERICA                      AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                   (for offenses committed on or after November 1, 1987)
                                                                                    Re-sentencing

                                  V.                                      Case Number:            04-CR-162-S-01

                           STEPHEN E. BLACK                       Defendant's Attorney:           Robert T. Ruth




The defendant Stephen E. Black pleaded guilty to Count 1 of the indictm ent.

Counts 2, 3 and 4 were previously dism issed upon m otion of the governm ent.




ACCORDINGLY, the Court has adjudicated that the defendant is guilty of the following offense(s):
                                                                                       Date Offense                     Count
Title & Section             Nature of Offense                                          Concluded                     Num ber(s)
21 U.S.C. § 841(a)(1)       Distribution of Cocaine Base, a Schedule II                August 26, 2005                1
                            Controlled Substance; a Class B felony


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid.




  Defendant's Date of Birth:             January 2, 1978                                             June 3, 2008
                                                                                           Date of Imposition of Judgment
  Defendant's USM No.:                   05746-090

  Defendant's Residence Address:         10125 S. Artesian                                      /s/ Barbara B. Crabb
                                         Chicago, IL 60655
                                                                                                  Barbara B. Crabb
  Defendant's Mailing Address:           Columbia County Jail
                                                                                                   District Judge
                                         P.O. Box 132
                                         Portage, WI 53901.

                                                                                                     June 5, 2008
                                                                                                     Date Signed:
                    Case: 3:04-cr-00162-bbc DEFENDANT:
                                             Document STEPHEN
                                                       #: 122 E.Filed:
                                                                 BLACK06/05/08 Page 2 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)               CASE NUMBER:      04-CR-162-S-01                       Amended Judgment - Page 2


                                                IMPRISONMENT
As to count one of the indictm ent, it is adjudged that defendant is com m itted to the custody of the Bureau of Prisons for
im prisonm ent for a term of 100 m onths. I recom m end that defendant be placed in a residential re-entry center with work
release privileges prior to his release from custody.




                                                         RETURN
      I have executed this judgment as follow s:




      Defendant delivered on                                   to

at                                , with a certified copy of this judgm ent.




                                                                                 UNITED STATES MARSHAL
                                                       By
                                                                                     Deputy Marshal
                    Case: 3:04-cr-00162-bbc DEFENDANT:
                                             Document STEPHEN
                                                       #: 122 E.Filed:
                                                                 BLACK06/05/08 Page 3 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                  CASE NUMBER:     04-CR-162-S-01                           Amended Judgment - Page 3


                                             SUPERVISED RELEASE
The term of confinem ent is to be followed by a four-year term of supervised release subject to the standard conditions.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature and circum stances of the offense and defendant’s history and characteristics, the following special
conditions are appropriate. Defendant is to:

(1)   Provide the supervising U.S. probation officer any and all requested financial inform ation;

(2)   Register with local law enforcem ent agencies and the state attorney general as directed by the supervising U.S. probation
      officer;

(3)   Subm it his person, residence, office or vehicle to a search conducted by a U.S. probation officer at a reasonable tim e and
      in a reasonable m anner whenever the officer has reasonable suspicion of contraband or evidence of a violation of a
      condition of release; failure to subm it to a search m ay be a ground for revocation; defendant shall advise any other
      residents that the prem ises he is occupying m ay be subject to searches pursuant to this condition; and

(4)   Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
      substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of his release and 60 drug
      tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’ phased collection
      process.
                    Case: 3:04-cr-00162-bbc DEFENDANT:
                                             Document STEPHEN
                                                       #: 122 E.Filed:
                                                                 BLACK06/05/08 Page 4 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                   CASE NUMBER:     04-CR-162-S-01                           Amended Judgment - Page 4


                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer within seventy-two hours of any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
                    Case: 3:04-cr-00162-bbc DEFENDANT:
                                             Document STEPHEN
                                                       #: 122 E.Filed:
                                                                 BLACK06/05/08 Page 5 of 6
AO 245 B (Rev. 7/93)(N.H. Rev.)                CASE NUMBER:     04-CR-162-S-01                         Amended Judgment - Page 5


                                    CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count     Assessment             Fine                  Restitution

                              1      $100.00                $0.00                 $0.00

                            Total    $100.00                $0.00                 $0.00



It is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District of
W isconsin im m ediately following sentencing. Defendant does not have the financial m eans to pay a fine.
                 Case: 3:04-cr-00162-bbc Document #: 122 Filed: 06/05/08 Page 6 of 6
                                        SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                       (1) assessm ent;
                                                       (2) restitution;
                                                       (3) fine principal;
                                                       (4) cost of prosecution;
                                                       (5) interest;
                                                       (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent.
